Case 1:02-cv-01232-.]DT-STA Document 115 Filed 08/17/05 Page 1 of 3 Page|D 126

lN THE UNITED STATES DlSTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

BEKAERT CORPORATION,

Plaintiff,

 

v. NO. ]-02-1232 T

JIMMY CAMPBELL, BARBARA CAMPBELL,
KKB ENTERPRISES, JEFF JACKSON,
RoDNEY WALKER, sR., DAVID cRISWELL,
JIM BEASLEY and PRENTICE INDUSTRlAL
SERVICES, lNC_,

Defendants.

 

ORDER GRANTING JOINT MOTION OF PLAINTIFF AND DEFENDANTS BARBARA
CAMPBELL, JIM BEASLEY AND PRENTICE INDUSTRlAL SERVICES, INC., TO
CONTINUE TRlAL OF THE CASE FOR SIX (6) MONTHS

 

Upon the joint and unopposed Motion of Plaintiff and Def`endants Barbara Campbell, J im
Beasley and Prentice Industrial Services, lnc., and for good cause shown, it is hereby Ordered
that the trial of this case, currently scheduled for September 6, 2005, shall be continued

The case Will be set for trial on 12 ]Q[L f']' / 5 , 2005 and the trial is expected to

41
last five (5) days. A joint pre-trial order shall be due on l l lg[”[@ 3 , 200}3.

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so 0RDERED THIS DAY OF 610-560¢1]` , 2005_

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HONO BLE JAMES TODD
UNIT STATES DISTRICT JUDGE

'l'his document entered on the docket sheet in compliance
with Rule 58 and/or 79 (a) FHCP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 115 in
case 1:02-CV-01232 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

